          Case 1:21-vv-00296-UNJ Document 27 Filed 07/25/22 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 21-0296V
                                        UNPUBLISHED


    KENADE ACHELUS-KNOX,                                    Chief Special Master Corcoran

                        Petitioner,                         Filed: June 24, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Tetanus Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
      Petitioner.

Lauren Kells, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

       On January 7, 2021, Kenade Achelus-Knox filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to vaccine
administration (“SIRVA”), a defined Table Injury, after receiving a tetanus vaccine on
December 24, 2019. Petition at 1, ¶¶ 1-2, 4. Petitioner further alleges that she suffered
the residual effects of her SIRVA and that neither she nor any other party has filed a civil
action or received compensation for her SIRVA. Id. at ¶¶ 3, 5. The case was assigned to
the Special Processing Unit of the Office of Special Masters.



1 Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
         Case 1:21-vv-00296-UNJ Document 27 Filed 07/25/22 Page 2 of 2




        On June 24, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent has concluded “that [P]etitioner has satisfied the criteria for
SIRVA, as defined by the Vaccine Injury Table (“Table”) and the Qualifications and Aids
to Interpretation (“QAI”).” Id. at 6. Respondent further agrees that “based on the record
as it now stands, [P]etitioner has satisfied all legal prerequisites for compensation under
the Vaccine Act.” Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                       s/Brian H. Corcoran
                                                       Brian H. Corcoran
                                                       Chief Special Master




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